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         By ECF                                                                        June 3, 2022
         Honorable Gabriel W. Gorenstein
         United States Magistrate Judge
         United States District Court
         Southern District of New York
         500 Pearl Street
         New York, New York 10007

                 In Re: New York City Policing During Summer 2020 Demonstrations,
                        No. 20 Civ. 8924 (CM) (GWG)
                        This filing is related to all cases

         Your Honor:

                 I am a Senior Counsel in the Office of the Honorable Sylvia O. Hinds-Radix, Corporation
         Counsel of the City of New York, and I am among counsel for the defense in the above-referenced
         matter. Defendants write to respectfully request a 60-day extension to August 2, 2022, to respond
         to plaintiffs’ First Consolidated Requests for Admission. Plaintiffs stated via email dated June 2,
         2022, in response to defendants’ request to them for an extension, “[p]laintiffs maintain their
         position that these matters are admitted by automatic operation of Rule 36 and do not consent to
         vacatur of those admissions.”

                 On February 16, 2022, plaintiffs served their First Consolidated Requests for Admission.
         Plaintiffs’ demand consisted of 286 requests for admission, plus an interrogatory and a document
         demand. Defendants did not respond to these requests, and plaintiffs have now deemed them
         admitted. Under Rule 36, if the party to whom the request to admit is directed does not object or
         answer within 30 days, the request is deemed admitted. See Fed. R. Civ. P. 36(a)(3). However,
         the Court has discretion to permit admissions to be withdrawn or amended “if it would promote
         the presentation of the merits of the action and if the court is not persuaded that it would prejudice
         the requesting party in maintaining or defending the action on the merits.” Fed. R. Civ. P. 36(b).
         Thus, the Court has the power to make exceptions to the rules when, (1) the presentation of the
         merits will be aided and (2) no prejudice to the party obtaining the admission will result. See
         Donovan v. Carls Drug Co., 703 F.2d 650, 651-652 (2d Cir. 1983). As plaintiffs have deemed
         their Requests admitted, defendants respectfully requests that the Court withdraw the admissions
         and permit defendants to provide answers to those requests for admission that are proper.

                First, these cases should be decided on their merits and not on a technicality, and here,
         withdrawal would certainly promote the presentation of the merits of the action. If the Court were
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to uphold the admissions, this could practically eliminate any presentation of the merits of a large
swath of the consolidated cases. See Hadley v. United States, 45 F.3d 1345 (9th Cir. 1995); accord
Loc. Union No. 38 Sheet Metal Worker’ Int’l Ass’n, AFL-CIO v. Tripodi, 913 F. Supp. 290, 294
(S.D.N.Y. 1996) (allowing withdrawal of admission because the “presentation of the merits clearly
would be saved . . . by permitting defendant to dispute a central issue in this case”). See also
Westmoreland v. Triumph Motorcycle Corp., 71 F.R.D. 192, 193 (D. Conn. 1976) (“The first half
of the [Rule 36(b)] test is clearly satisfied since the effect of upholding the admissions would be
to practically eliminate any presentation of the merits.”); accord Garden City Bosing Club, Inc. v.
Rice, 2005 U.S. Dist. LEXIS 4007, at *4 (S.D.N.Y. Mar. 14, 2005).

        Attached hereto as Exhibit A are the Requests. A cursory review of the requests shows
that many of them are improper and factually inconsistent to one another. 1 Furthermore, many of
these requests ask defendants to admit that they violated specific policies or certain requirements
under various laws, and others require defendants to concede certain interpretations of legal
provisions. Others seek admission of statements already attributed to a speaker. 2 These and other
types of requests for admissions propounded by plaintiffs constitute an improper use of Rule
36. See, e.g. e Ross v. Shah, No. 1:12-CV-1006 (GTS/CFH), 2015 U.S. Dist. LEXIS 102315, 2015
WL 4648002, at *11 n.34 (N.D.N.Y. Aug. 5, 2015); Coach, Inc. v. Horizon Trading USA Inc., 908
F. Supp. 2d 426, 432 (S.D.N.Y. 2012). Therefore, deeming any of these requests admitted would
frustrate the purpose of Rule 36 as well as the presentation of the merits in the consolidated cases.

         Second, no prejudice accrues to plaintiffs in allowing defendants to provide answers to the
proper requests for admission. “The prejudice contemplated by the Rule is not simply that the party
who initially obtained the admission will now have to convince the fact finder of its truth. Rather,
it related to the difficulty a party may face in proving its case, e.g., caused by the unavailability of
key witnesses, because of the sudden need to obtain evidence with respect to the questions
previously answered by the admissions.” Brook Vill. N. Assocs. v. Gen. Elec. Co., 686 F.2d 66,
70 (1st Cir. 1982) citing Westmoreland, 71 F.R.D. at 193. Here, plaintiffs have not relied on these
admissions in any way and have and will continue to take multiple depositions of key witnesses,
and have hundreds of thousands of pages of discovery, thus plaintiffs are certainly not left wanting
in this regard. Simply put, permitting withdrawal of the admissions will aid in presentation of the
merits in these consolidated cases, and there is no perceptible prejudice to plaintiffs.

       In the alternative, defendants argue that excusable neglect exists to extend the time after
the time to respond has expired. When an act may or must be done within a specified time, the
Court may, for good cause, extend the time on motion made after the time has expired if the party

1
 For example, Request 83 asks “[a]dmit that PO Brian P. Destefano personally observed Jillian
Primiano in purported violation of the Citywide Curfew,” While Request 84 asks “[a]dmit that PO
Brian P. Destefano did not personally observe Jillian Primiano in purported violation of the
Citywide Curfew.”
2
  For example, Request 5 asks to “[a]dmit that Police Commissioner Dermot F. Shea stated at a
June 4, 2020 press conference ‘You look at the anti-police rhetoric, it disgusts me to my core’”,
while Request 6 asks to “[a]dmit that Mayor de Blasio stated at a press conference on June 5, 2020,
that he “had observers from City Hall” present at the rally in Mott Haven on June 4, 2020.”


                                                   2
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failed to act because of excusable neglect. Fed. R. Civ. P. 6(b)(1)(B). First, as Your Honor is
aware, the defense teams’ leader and most senior attorney on these matters, and the person who
was specifically handling the task of responding to the consolidated requests and calendaring the
deadline for same, is no longer with this Office. 3 Defendants should not be penalized in this regard
due to the oversight and omissions of the attorney assigned to this task. 4

         We know the Court can recognize the pragmatic realities of finite resources as well as the
realities of missing a deadline, which leads to administrative oversights. These administrative
errors militate against deeming requests admitted to the extent that they undermine substantive
defenses and further warrant allowing defendants additional time to respond to plaintiffs requests
for admission.

       In light of the foregoing, defendants respectfully request that the Court nunc pro tunc allow
defendants additional time to respond to plaintiffs’ requests that are proper.

       Thank you for your consideration herein.

                                                      Respectfully submitted,
                                                      Amy Robinson s/
                                                      Amy Robinson
                                                      Senior Counsel
cc:    ALL COUNSEL (via ECF)




3
  In their email response to defendants, plaintiffs point out that other attorneys for defendants were
listed on the email serving these Requests. However, tasks are assigned to other attorneys
regardless of whom they were sent to, and this task was for the former lead attorney.
4
  The timing of plaintiffs bringing this oversight to defendants’ attention is worth noting. As a pre-
emptive and corrective measure, given the fact that the former lead attorney was no longer working
with this Office, defendants inquired of plaintiffs if there were any outstanding deadlines on any
of the consolidated cases so that defendants could address them. Plaintiffs declined to extend that
professional courtesy. Instead, plaintiffs waited June 1, 2022, after defendants advised the Court
of any missed deadlines on the Document Requests Chart, to inform defendants of a missed March
deadline pertaining to the requests for admission. While the Requests were not the subject of the
Document Requests Chart, it would have been part of defendants’ request to plaintiffs.
Furthermore, while it is not plaintiffs’ obligation to remind defendants of their deadlines, in the
normal course of practice on these cases, a reminder would be sent to opposing counsel advising
that responses were passed due and offer the opportunity to serve responses.


                                                  3
